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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  13-31 SPORT, LLC;                           )        CIVIL ACTION NO.: 4:18-cv-157
  Plaintiff,                                  )
                                              )        UNOPPOSED MOTION TO DISMISS
  v.                                          )        PURSUANT TO RULE 41(A)(2)
                                              )
  DICK’S SPORTING GOODS, INC.;                )        1. NO. 6,598,234;
  Defendant.                                  )        2. NO. 6,499,139.
                                              )
                                              )        [35 U.S.C. 271]


        Plaintiff 13-31 Sport, LLC, pursuant to Federal Rule of Civil Procedure 41(a)(2), hereby

 moves for an order dismissing all claims against Defendant Dick’s Sporting Goods, Inc. in this

 action WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees.

                                     Respectfully Submitted,

                                     UNDERWOOD LAW OFFICES

                                     /s/ Mark F. Underwood
                                     Mark F. Underwood
                                     State Bar No. 24059341
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                                     ATTORNEY FOR PLAINTIFF 13-31 SPORT, LLC

                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served by
 electronic mail, facsimile, and/or first-class mail on June 22, 2018.

                                                   /s/ Mark F. Underwood
                                                   Mark F. Underwood




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